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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

MI COCINA, LTD.,

             Plaintiff,

v.                                                          No. CV 22-22 GBW/CG

MI COCINA, LLC,

             Defendant.

             ORDER SETTING TELEPHONIC STATUS CONFERENCE

      THIS MATTER is before the Court after conferring with counsel. IT IS HEREBY

ORDERED that a status conference will be held by telephone on Wednesday, May 18,

2022, at 10:30 a.m. Parties shall call Judge Garza’s AT&T Teleconference line at (877)

810-9415, follow the prompts, and enter the Access Code 7467959, to be connected to

the proceedings.

      IT IS SO ORDERED.

                                 ________________________________
                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
